Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 1 of 11

IN THE UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF MARYLAND
(Baltimore Bivision)

>l<
Adele D. Penny *
>l=
Piaintiff *
°“ Case No.

.v_s. *

ShellPoint Mortgage Servicing * JURY TRlAL DEMANDED
PO Box 10826 *
Greenville, SC 29603-0826 *
. *
And *
*
VM Trust Series 2 *
c/O Wilniington 'I`rust, National ‘*‘
Association *
Rodney Sqnare Nortli *
1100 North Market Street *
Wilniington, De 1989() *

Defendants
,l !]RISDICTION
Jurisdiction of this Co_urt arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. § 1692k
(d)-

This action arises out of the Defendants’ Violations of the Fair Debt Collection Practices
Act, 15 U.S.C. § 1692 et seq. (“FDCPA”); violation of the Annotated Code of Maryland
Business Regulation §7~1()1(0)(1)(ii); violations of the Consurner Protection Act (“MCPA”)
and Violations of the Malyland Consnmei‘ law Article § 13-303(4) by these Defendants in
its illegal efforts to collect a consumer debt

Venue is proper in this Distn`ct because the acts and transactions occurred here, Plaintiff

resides here, and Defendants transacts business here.

 

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 2 of 11

PARTIES
Plaintiff, Adele D. Penny (hereinaller “Penny or Plaintifl"’), is an unmarried, natural person
Who resides at 8526 Stevenswood Road, Randalistown, MD 21244 and is a “consumer” as

that term is defined by 15 U.S.C. §1692a (3).

Defendant, She]lpoint Mortgage Servicing (hereinafter “Shellpoint or defendants”) is a

mortgage servicer, registered as a corporation in the State of l\/laryland, but not licensed as
a collection company in the State of Maryland , operating from its principal address of 75
Beattie Place, Suite 300, Greenville, SC 29601 and is a “debt collector” as that term is
defined by 15 U.S.C. § 1692a (6).

Defendant, VM Trust Series 2 (“VM Trust Series 2 or “defendants”), is a Delaware
Statutory Trust, not registered as a corporation or licensed as a collection Company, in the
State of Maryland and is a debt collector as that term is defined by 15 U.S.C § 1692a (6).

FACTUAL ALLEGA'I`IONS

On August 31, 2007, Plaintiff, incurred a financial obligation, and executed a document
titled as a Refinance Deed of Trust (“RDOT”) in favor of Equitable Trust l\/lortgage
Corporation (hereafter called “Equitable”) in the principal sum of $331,397.00 for the
residential property located at 8526 Stevenswood Road, Randallstown, MD 21244
(‘residence”). The RDOT Was recorded in the land records of Baltimore County Circuit
Court at liber 0026153 folio 402. A copy of the RDOT is attached hereto and is marked
as Exhibit “A”.

Also on Angnst 31, 2007, the Plaintiff executed a Note With Equitable that Was primarily

for personal, family or household purposes The Note contains 2 allonges. The first

 

10.

11.

12.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 3 of 11

allonge states on the last page; “PAY TO THE ORDER OF: Franl<lin American
Mortgage Company, signed by Richard H. Sapp, President. The second allonge states on
the last page; “PAY TO THE- ORDER OF: JP Morgan Chase Bank, N.A., signed by
Nicole Suter, Collateral/Support Team Leader. A copy of the Note is attached hereto and
is marked as Exhibit “B”.

A loan Modification Agreement (hereafter called c‘h/Iodification”) Was executed on July
26, 2011 between the Plaintiff and JP Morgan Chase Bank, N.A, (“JP l\/lorgan”) that Was

filed in Baltiniore County Circuit Court on August 31, 2011 at liber 31133 folio 482. A

copy of the Modification is attached hereto and is marked as Exhibit “C”.

Approxiniately three Weeks later, on August 17, 2011, an Assignment of Deed of Trust
(hereafter called “ADOT-JP”) Was executed from the Mortgage Electronic Registration
System (“MERS”) to JP Morgan and filed in the land records of Baitirnore County
Circuit Court on August 26, 2011 at liber 31133 folio 492. A copy of the ADOT-.]P is
attached hereto and is marked as Exhibit “D”.

An Appointment of Substitute Trustee (hereafter called “ASTI"), was executed on
November I, 2012, Wherein JP Morgan designated and appointed Diane S. Rosenberg,
Mark Meyer, John A. Ansell, III, Kenneth Savitz and Stephanie Montgomery, as
substitute trustees (“hereinafter “SubTruStl”) Was filed in the land records of Baitimore
County Circuit Court, at liber 34310 folio 175 on October S, 2013. A copy of the ASTl is
attached hereto and is marked as Exhibit “E”.

Several years later, May 11, 2015, a Written notice Was mailed to the Plaintiff from
Shellpoint that stated pursuant to the Maryland Code Real Property § 7-105-1 (c) the date

of default on the Note was November 2, 2011. By acquiring the mortgage servicing

 

13.

14.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 4 of 11

rights after default, Shellpoint, becomes a debt collector pursuant to 15 U.S.C § 1692a (6).
The Written notice also indicated that Wilmington Trust, National Association, not in its
individual capacity but solely as trustee for VM 'I‘rust Series 2, a Delaware Statutory
Trust Was the name of the secured party. A copy of this notice is attached hereto and is
marked as Exhibit “F”.

Approximately 6 weeks later on June 29, 2015, the RDOT Was assigned by Maryland
Assignment of Deed of Trust (“AI)OT-Maryland 1”) from the Secretary of Housing and
Urban Development (“Secretary”) to V l\/lortgage Acquisitions, LLC and filed in the land
records of Baltimore County Circuit Court on October 5, 2015 at liber 36725 folio 275.
The Plaintiff asserts the ADOT-Maryland 1 is not valid because the Note did not contain
either a special indorsement to the Secretary or a signed in blank indorsement Due to
this, Secretary had not established they Were the lawful owner or holder of the Note and
had no authority to transfer ownership to V Mortgage Acquisition, LLC. A copy of the
ADOT-Maryland 1 is attached hereto marked as Exhibit “G”.

Approximately 1 month later a second Appointment of Substitute Trustees (hereafter
called “ASTZ”), was executed on July 21, 2015, wherein New Penn Financial, LLC,
d/b/a Sbellpoint Mortgage Servicing as Servicer for Wilmington Trust, National
Association, not in its individual capacity but solely as trustee for VM Trust Series 2, a
Delaware Statutory Trust, wherein Diane S. Rosenberg, l\/lark Meyer, John A. Ansell, 111,
Kenneth Savitz, Caroline Fields and Jennifer Rochino, (“hereinafter called “Sule'ustZ”)
(SubTrust2 includes Caroline Fields and Jennifer Rochino as substitute trustees, Whereas
Subtrustl does not) were designated and appointed as substitute trustees and filed in the

land records of Baltimore County Circuit Court, Maryland at liber 36580 folio 67 on

 

15.

16.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 5 of 11

August 25, 2015. The Plaintiff asserts the AST2 is not valid because the Note did not
contain either a special indorsement to VM Trust Series 2 or a signed in blank
indorsement Due to this absence, VM Trust Series 2 had no authority to appoint
SubTrustZ.. A copy of the ASTZ is attached hereto and is marked as Exhibit “H”.

That on August 25, 2015, SubTrust2 filed in the Circuit Court for Baltimore County,
case # 03-C1~5009169, an Order to docket suit (hereinafter called “Order”) regarding
Residential Property at 8526 Stevenswood Road, Randallstown, MD 21244. Said Order
included an invalid Affidavit of Note Ownership (hereinafter called “Afiidavit”) signed
by New Penn Financial d/b/a Shellpoint Mortgage Servicing for Wilmington Trust,
National Association not in its individual capacity, but solely as trustee for VM Trust
Series 2, a Delaware statutory trust. The Plaintiff asserts that VlVI Trust Series 2 was not
the holder of the Note and thus did not have standing because pursuant to Maryland Code
Real Property § 7-105-1 (e) (1)(ii) 2 B, to enforce the RDOT in that the Note does not
contain an allonge that reflects either a special indorsement to VM Trust Series 2 or a
signed in blank indorsement and therefore the Affidavit is false. A copy of the Baltimore
County Circuit Court docket and Affidavit are attached hereto and marked as Exhibits
“I” and “.]” respectively. Further, pursuant to the Business Regulations Article of the
Annotated Code of Maryland Title 7, requires a person to obtain a license from the
Maryland Collection Agency licensing Board, which neither VM Trust Series 2 or

Shellpoint did.

That on September 21, 2015, the RDOT was assigned by Assignment Deed of Trust
(hereafter called “ADOT-Marylandl”} from V Mortgage Acquisition, LLC to VM

Trust Series 2 and filed in the land records of Baltimore County Circuit Court on

 

17.

18.

19.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 6 of 11

October 5, 2015 at liber 36725, folio 278. The Plaintiff asserts the ADOT-Marylandl is
not valid because the Note did not contain either a special indorsement to V Mortgage
Acquisition, LLC or a signed in blank indorsement Due to this absence, V Mortgage
Acquisition, LLC had not established they were the lawful owner or holder of the Note
and RDOT and had no authority to transfer ownership to VM Trust Series 2. A copy of
the ADOT-Marylandl is attached hereto and is marked as Exhibit “K”.

That on February 26, 2016, the RDOT was assigned by another subsequent Maryland
Assignment Deed of Trust (hereafter called “ADOT-MarylandZ”) from JP Morgan
Chase Bank, National Association to Secretary and filed in the land records of Baltimore
County Circuit Court on April 14, 2016 at liber 37391 folio 285. A copy of ADOT-
Maryland2 is attached hereto and marked as Exhibit “L”.

That on July 8, 2016, a Maryland Corrective Assignment Deed of Trust (bereafter called
“Corrective ADOT-Maryland”) from JP Morgan _Chase Bank, National Association to
Secretary and filed in the land records of Baltimore County Circuit Court on August 15,
2016 at liber 37873 folio 68. A copy of the Corrective ADOT-Maryland is attached
hereto and marked as “Exhibit M”.

The residence was improperly foreclosed on February 17, 2017 by New Penn Financial
d/b/a Shellpoint Mortgage Servicing for Wilmington Trust, National Association not in
its individual capacity, but Solely as trustee for VM Trust Series 2. The proper Note
owner pursuant to the allonges was JP Morgan. Neither VM Trust Series 2 nor Shellpoint
was the holder and did not have standing to foreclose on the Plaintiff’ s residencel Further,

pursuant to the Business Regulations Article of the Annotated Code of l\/laryland Title 7,

 

20.

21.

22.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 7 of 11

requires a person to obtain a license from the Maryland Collection Agency Licensing
Board, which neither VM Trust Series 2 or Shellpoint did.

Pursuant to a Purchaser’s Affidavit dated February 17, 2017, the purchaser of the
residence was V Mortgage REOZ, LLC (hereinafter “V Mortgage”) for $209.130.56.
The Plaintiff asserts V Mortgage cannot be the purchaser in that VM Trust Series 2 was
not the holder and did not have standing to foreclose. Additionally, pursuant to the
Business Regulations Article of the Annotated Code of Maryland Title 7, requires a
person to obtain a license from the Maryland Collection Agency licensing Board, which
neither VM Trust Series 2 or Shellpoint did. A copy of the Purchaser’s Affidavit is
attached and marked as Exllibit “N”.

On February 24, 2017, Shellpoint hand delivered and affixed to the Plaintiff’ s front door
a letter to the Plaintiff that misleadingly indicated there is a new owner of her residence
At the time of this letter, V Mortgage was only a mere foreclosure sale purchaser as
defined under the Maryland Code Real Property §7-105-10 (a)(3). Because the sale had
not been ratified, this was dubious at best A new owner with all applicable rights and
remedies can only occur after proper notice the appropriate Circuit Court Judge executes
a Final Order of Ratification. At the date of this letter (and this adversary), there was no
Final Order of Ratification. A copy of the letter is attached hereto and marked as Exhibit
“O”.

Plaintiff asserts a purported representative or agent for Shellpoint named Anna Yashnak
(hereinafter °‘Yashnak”) called the Plaintiff by telephone multiple times after the letter
was delivered offering the Plaintiff Six Thousand Dollars ($6,000.00) to vacate her

residence within thirty (30) days. Because V Mortgage through its agent or representative

 

23.

24.

25.

26.

27.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 8 of 11

was only an unratified mere foreclosure sale purchaser, they mislead the Plaintiff and
attempted to coerce her to accept monies in return for providing the defendants
possession of her residence

That on March 24, 2017, V Mortgage attorney filed a line requesting ratification A copy
of the Letter is attached hereto and marked as Exhibit “P”.

That on July 13, 2017, the Honorable lodge Mickey J. Norman, of the Circuit Court for
Baltimore County, stated in his letter to the Defendant’s counsel,” First a copy of the
Note has been filed, along With an affidavit stating that “Wilmington Trust, N.A. is the
owner of the debt See Docket Entry #2000, However, neither the Note nor an attached
allonge, if applicable, includes either a special indorsement to this specific entry or a
signed blank indorsement Consequently, it is unclear whether the entity alleging
ownership of the Note actually has the right to enforce such.” A copy of the aforesaid
letter and is attached hereto and marked as “Exhibit “Q”).

The Plaintiff continues to suffer damages directly and proximately caused by the
Defendant’s unsafe and unsound debt collection practices related to the collection of the
Plaintiff’s debt

Shellpoint has knowingly attempted to collect monies from the Plaintiff on behalf of VM
Trust Series 2 without the requisite state license to do so. Since 2007, the law has been
clear that collection agency or mortgage lender must have the requisite license to collect
or attempt either directly or indirectly in the State of Maryland, Md. Code Regs.
09.03.06.20.

The Plaintiff was in default when the Defendant’s took ownership of the Note began

servicing the loan, which makes Shellpoint actions are violations of multiple provisions

 

29.

3().

31.

32.

33.

28.

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 9 of 11

of the FDCPA, including but not limited to 15 U.S.C. §§ 1692e, 1692e (2), 1692e (10),
1692f, and 1692f (1), amongst others.
The above-detailed actions by Defendants of harassing Plaintiff to collect this debt by
foreclosure was a violation of numerous and multiple provisions of the FDCPA, including,
but not limited to, all of the above-mentioned provisions of the FDCPA in addition to the
Maryland Code of Commercial Law Title 12.121
Plaintiff has suffered actual damages because of these illegal collection attempts by the
Defendants in the form of attorney fees and emotional distress amongst other negative
emotions.
TRIAL BY ,| QRY
Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const. amend
7. Fed.R.Civ.P. 38.
CAUSES OF ACTION
COUNT I.
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692 et seq.
Plaintiff incorporates by reference all the above paragraphs of this Complaint as though
fully stated herein.
The foregoing intentional and negligent acts and omissions of each and every Defendant
constitute numerous and multiple violations of the FDCPA including, but not limited to,
each and every one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
As a result of each and every Defendants’ violations of the FDCPA, Plaintiff is entitled to

actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up

 

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 10 of 11

to $l,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and

costs pursuant to 15 U.S.C. § 1692k(a)(3) from each and every Defendant herein.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against each Defendant:
COUNT I.
VIOLA'I`IONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692 et seq.
0 for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against the
Defendant sand for Plaintiff;
o for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendants and for Plaintiff;
¢ for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against Defendant and for Plaintiff; and
¢ For such other and further relief as may be just and proper.
COUNT 2.

VIOLATIONS OF THE MARYLAN]) CONSUMER PROTECTION ACT

¢ for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant
and for Plaintiff;
» for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

§1692k(a)(2)(A) against Defendant and for Plaintiff;

”19-

 

Case 1:18-cV-00333-I\/|.]G Document 1 Filed 02/02/18 Page 11 of 11

0 for an award of costs of litigation and reasonable attorney’s fees pursuant to l5 U.S.C. §
1692k(a)(3) against Defendant and for Plaintiff; and
0 For such other and further relief as may be just and proper.
COUNT 3.
VIOLATIONS OF THE MARYLAND CONSUMER LAW ARTICLE

§ 13-303(4)
¢ for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendant

and for Plaintiff;

¢ for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendant and for Plaintiff;

¢ for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against Defendant and for Plaintiff; and

0 For such other and further relief as may be just and proper.
COUNT 4.

VIOLATIONS OF THE MARYLAND BUSINESS REGULATION §7-101(c)(1)(ii)

Respectfully submitted,
Dated: February 2, 2018 Grossbart, Portney and Rosenberg, P.A.

Bv: /S/Robert N. Gr'ossbart
Robert N. Grossbart, Esq.
Attorney l.D.#04116

1 North Charles Street, Suite 1214
Baltimore, Maryland 21201
Telephone: (410) 837-0590
Facsimile: (410) 837-0085
Robert@grossbartlaw.com
Attoi'ney for Plaintiff

_11_

 

